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9                         UNITED STATES DISTRICT COURT
10
                         CENTRAL DISTRICT OF CALIFORNIA
11

12    NANCY SPRINGER, individually and )              Case No.
13
      on behalf of all others similarly situated)
                                                )     2:19-cv-01099-AB-FFM
14    Plaintiff,                                )
15                                              )     VOLUNTARY NOTICE OF
      vs.                                       )     DISMISSAL OF ACTION OF THE
16                                                    INDIVIDUAL CLAIMS
                                                )
17    APRIA HEALTHCARE GROUP,                   )     WITH PREJUDICE AND THE
      INC., and DOES 1-20, inclusive,           )     PUTATIVE CLASS CLAIMS
18
                                                )     WITHOUT PREJUDICE
19    Defendant(s).                             )
20                                              )
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22         NOTICE IS HEREBY GIVEN that Plaintiff, pursuant to Federal Rule of
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     Civil Procedure 41(a)(1), hereby voluntarily dismisses the entire case with
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25   prejudice as to all of their individual claims and without prejudice as to the claims
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     of any putative class member. Each party shall bear their own costs and attorneys’
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     fees. Defendant has neither answered Plaintiff’s Complaint, nor filed a motion for
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                                         Notice of Dismissal - 1
     Case 2:19-cv-01099-AB-FFM Document 15 Filed 05/29/19 Page 2 of 3 Page ID #:51



1    summary judgment. Accordingly, this matter may be dismissed with prejudice and
2
     without an Order of the Court.
3

4          RESPECTFULLY SUBMITTED this May 29, 2019.
5

6
                              By:
7
                                                  /s/Adrian R. Bacon
8                                                   Adrian R. Bacon ESQ.
                                              Law Offices of Todd M. Friedman,P.C.
9
                                                   Attorney For Plaintiff
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                                      Notice of Dismissal - 2
     Case 2:19-cv-01099-AB-FFM Document 15 Filed 05/29/19 Page 3 of 3 Page ID #:52



1
     CERTIFICATE OF SERVICE
2
     Filed electronically on May 29, 2019 with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on May 29, 2019 to:
6

7    To the Honorable Court, all parties and their Counsel of Record
8

9                                                      By: /s/Adrian R. Bacon
                                                        Adrian R. Bacon ESQ.
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                                       Notice of Dismissal - 3
